                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-15
 v.                                                   )
                                                      )       COLLIER / LEE
 CHRISTOPHER WRIGHT                                   )

                                             ORDER

        On June 22, 2012, Magistrate Judge Susan K. Lee filed a report and recommendation

 recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count

 One of the twenty-seven-count Indictment; (2) accept Defendant’s plea of guilty to Count One of

 the Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

 find Defendant shall remain in custody until sentencing in this matter (Court File No. 295). Neither

 party filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 295)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and



Case 1:12-cr-00015-TRM-SKL           Document 361         Filed 08/30/12     Page 1 of 2      PageID
                                           #: 814
       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, October, 11, 2012 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                              2


Case 1:12-cr-00015-TRM-SKL       Document 361      Filed 08/30/12    Page 2 of 2    PageID
                                       #: 815
